   20-05027-rbk Doc#27 Filed 07/18/20 Entered 07/18/20 23:27:49 Imaged Certificate of
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                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas
                                  San Antonio Division
                                                                         Bankruptcy Case
                                                                                    No.: 20−50805−rbk
                                                                            Chapter No.: 11
IN RE: KrisJenn Ranch, LLC , Debtor(s)

                                                                Adversary Proceeding No.: 20−05027−rbk
                                                                                   Judge: Ronald B. King
                                                              Krisjenn Ranch, LLC,
                                                              Krisjenn Ranch, LLC,
                                                              Series Uvalde Ranch,
                                                              Krisjenn Ranch, LLC,
                                                              Series Pipeline Row
                                                              Plaintiff
                                                         v.
                                                              DMA Properties,
                                                              Inc.,Longbranch Energy,
                                                              LP.,John Terrill, Black
                                                              Duck Properties, LLC. &
                                                              Larry Wright
                                                              Defendant(s)

                                              SCHEDULING ORDER
Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following scheduling order.

   IT IS ORDERED THAT:

      1. The parties shall file all amended or supplemental pleadings and shall join additional parties on or before
9/14/20 . See L. Rule 7015.

      2. All parties asserting or resisting claims for relief shall serve on all other parties, but not file, the disclosures
required by Federal Rule of Civil Procedure 26(a)(1) on or before 7/30/20.

      3. The parties shall complete discovery on or before 10/14/20. Counsel may, by agreement, continue
discovery beyond the deadline, but there will be no intervention by the Court except in extraordinary circumstances.
       4. All dispositive motions shall be filed and served on all other parties on or before 10/26/20 and shall be
limited to 20 pages. See L. Rule 7007(a) for the definition of dispositive motions and page limits. Responses shall be
filed and served on all other parties not later than 21 days of the service of the motion and shall be limited to 20
pages. See L. Rule 7007(b)(2). Any replies shall be filed and served on all other parties not later than 7 days of the
service of the response and shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the
motion. See L. Rule 7007(c).

      5. Motions other than Rule 12 or 56 are governed by L. Rule 7007, 9013, and 9014 where applicable.

      6. Docket call for trial is set for 12/7/20
         at 02:00 PM at VIA TELEPHONE: (888)278−0296; AC:9198559.

Parties will be required to discuss at docket call any objections to the use of deposition testimony and stipulations
regarding the use of experts for trial.
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     7. A joint pre−trial order and proposed findings of fact and conclusions of law are due 11/30/20. See L. Rule
7016(c) and (d).

      8. Exhibits and a witness list are to be exchanged three business days in advance of trial. See L. Rule 7016(f).
In addition, counsel are encouraged to present and provide electronic versions of exhibits where practicable. Use and
presentation of electronic exhibits should be coordinated through the courtroom deputy.

     9. Counsel are reminded that, with regard to any paper that is filed, compliance with Fed. R. Civ. P. 5.2 is
mandatory. As such, counsel should ensure that appropriate redactions are made.
      10. This Scheduling Order does not specifically address the discovery of electronically stored information
(ESI). To the extent the parties believe that ESI is subject to discovery, the parties are directed to reach an agreement
on production of ESI. The parties are encouraged to use the template developed by the Seventh Circuit Electronic
Discovery Pilot Program. See (http://www.discoverypilot.com). Any party may bring any dispute regarding the
discovery of ESI, but it must be brought to the Court's attention by motion 30 days after Rule 26(a)(1) disclosures are
made.

      11. Counsel residing outside the State of Texas shall designate local counsel in writing, giving the street
address, telephone number and mailing address. The designation shall be filed with the Clerk of the Court in this
proceeding, and a copy shall be sent to all other counsel of record in this proceeding. This provision may be waived
by the Court upon motion of counsel and service upon other parties.

      12. All discovery must be commenced and completed by the discovery deadline provided in this Order.
          a. Designation of experts shall be an issue at any pretrial conference.
          b. Counsel are encouraged to resolve discovery disputes by agreement. Motions to compel, motions for
             protective orders and similar motions, while not prohibited, may result in sanctions being imposed on
             the losing party or both parties as provided in Fed. R. Bankr. P. 7037 & 9011 or 28 U.S.C. section
             1927, if a hearing is required thereon.
          c. If applicable, parties may file dispositive motions under Fed. R. Bankr. P. 7012 & 7056 and Fed. R.
             Civ. P. 12(b) & 56. Such motions, if filed, must be filed by the deadline for dispositive motions in this
             Order. Responses to motions under FRBP 12 and 56 must be filed within 21 days after the Motion is
             filed. All other motions in this adversary proceeding, unless unopposed, require the filing of a
             written response within 14 days, or the motion may be granted without a hearing.
          d. All discovery shall be commenced at a time which allows for the full response time provided by
             applicable rules on or before the discovery deadline.
             E.g., if the discovery deadline is July 15, interrogatories must be actually delivered on or before June
             15 in order to allow thirty days for answers. If the interrogatories are mailed, then they must be mailed
             on or before June 12, pursuant to Fed. R. Bankr. P. 9006(f), to allow three additional days for service
             by mail.
          e. The Court may, upon motion and for cause shown, extend, reduce, or otherwise modify the deadlines
             set out in the Scheduling Order. Mere agreement of the parties to such extensions or modifications is
             not of itself sufficient cause.

       13. Counsel and unrepresented parties must confer prior to the date the Pre−Trial Order is required to be filed,
to fully explore the possibility of settlement, to stipulate to matters not in dispute and to simplify the issues. The
Pre−Trial Order shall contain a certificate to the effect that the conference of counsel has been held. Counsel must
also confer in an effort to determine whether the original time estimate for trial is correct or should be revised. If the
parties wish to have a pre−trial conference with the Court, a pre−trial conference should be requested as early as
possible, but at least 60 days prior to the trial.

      14. Docket call is set on the docket call date provided in the scheduling order. The only matters to be
considered by the Court at docket call are as follows:
           a. Date, time and place of trial following docket call.
          b. Properly and timely−filed motions for continuance or for default judgment.
           c. Motions not previously ruled on under Fed. R. Civ. P. 12 and Fed. R. Bankr. P. 7012.
          d. Settlement announcements.
Failure to attend docket call may result in dismissal or rendition of final judgment. You may, however,
authorize any member of the Bar of this Court, including opposing counsel, to make an appearance on your
behalf at docket call, if there are no contested motions for continuance, motions for default judgment or
motions under Fed. R. Civ. P. 12 and Fed. R. Bankr. P. 7012.
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Dated: 7/16/20
                                             Barry D. Knight
                                             Clerk, U. S. Bankruptcy Court
                                             BY: Deanna Castleberry
                                                                             [Scheduling Order (AP)] [OschmAPap]
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                                               United States Bankruptcy Court
                                                 Western District of Texas
Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
         Plaintiff                                                                                Adv. Proc. No. 20-05027-rbk
DMA Properties, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: castleber                    Page 1 of 2                          Date Rcvd: Jul 16, 2020
                                      Form ID: 223                       Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 18, 2020.
aty            +Christopher S. Johns,    JOHNS & COUNSEL PLLC,    14101 Highway 290 West,    Suite 400A,
                 Austin, TX 78737-9376
aty            +Jeffery Duke,   DUKE BANISTER MILLER & MILLER,     22310 Grand Corner Drive,    Suite 110,
                 Katy, TX 77494-7467
aty            +Michael Black,   BURNS & BLACK PLLC,    750 Rittiman Road,    San Antonio, TX 78209-5500
aty            +Timothy Cleveland,    CLEVELAND TERRAZAS PLLC,    4611 Bee Cave Road,    Suite 306B,
                 Austin, TX 78746-5284
3pd            +Black Duck Properties, LLC,    410 Spyglass Road,    McQueeney, TX 78123-3418
3pp             DMA Properties, Inc.,    c/o Burns & Black, PLLC,    Burns & Black, PLLC,    750 Rittiman Road,
                 San Antonio, TX 78209-5500
3pp            +Frank Daniel Moore,    88 Wild Swan Lake,    Minnesott Beach, NC 28510-8507
3pd            +John Terrill,   12712 Arrowhead Lane,     Oklahoma City, OK 73120-8829
pla             Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series U,     410 Spyglass Rd,
                 McQueeney, TX 78123-3418
3pd            +Larry Wright,   410 Spyglass Road,    McQueeney, TX 78123-3418
dft             Longbranch Energy, LP,    c/o Burns & Black, PLLC,    Burns & Black, PLLC,    750 Rittiman Road,
                 San Antonio, TX 78209-5500

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp            E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jul 17 2020 02:29:00     U.S. Trustees Office,
                 P. O. Box 1539,   San Antonio, TX 78295-1539
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust*               U.S. Trustees Office,   P. O. Box 1539,    San Antonio, TX 78295-1539
dft*               DMA Properties, Inc.,   c/o Burns & Black, PLLC,    Burns & Black, PLLC,                       750 Rittiman Road,
                    San Antonio, TX 78209-5500
3pd*              +John Terrill,   12712 Arrowhead Lane,    Oklahoma City, OK 73120-8829
cd*                Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series U,    410 Spyglass Rd,
                    McQueeney, TX 78123-3418
cd*                Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series U,    410 Spyglass Rd,
                    McQueeney, TX 78123-3418
3pd*              +Larry Wright,   410 Spyglass Road,    McQueeney, TX 78123-3418
                                                                                                                    TOTALS: 0, * 6, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 18, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 16, 2020 at the address(es) listed below:
              Austin Hammer Krist   on behalf of Interested Party Frank Daniel Moore
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Third Pty Plaintif    DMA Properties, Inc.
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Defendant   DMA Properties, Inc. akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Third Pty Plaintif Frank Daniel Moore
               akrist@clevelandterrazas.com
              Charles John Muller, IV   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Charles John Muller, IV   on behalf of Counter Defendant    Krisjenn Ranch, LLC, Krisjenn Ranch,
               LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row
               john.muller@chamberlainlaw.com, mary.ables-miller@chamberlainlaw.com
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                                       Notice Pg 5 of 5


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                             Form ID: 223                Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ronald J. Smeberg   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg   on behalf of 3rd Pty Defendant   Black Duck Properties, LLC ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Ronald J. Smeberg   on behalf of Counter Defendant   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com,
               ronaldsmeberg@yahoo.com
                                                                                            TOTAL: 9
